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             IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW JERSEY
    ___________________________________
                                         )
    IN RE: JOHNSON & JOHNSON             )
    TALCUM POWDER PRODUCTS               )
    MARKETING, SALES PRACTICES AND )         MDL Docket No. 2738
    PRODUCTS LIABILITY LITIGATION        )
    ___________________________________ )
                                         )
    This Document Relates To All Cases   )
    ___________________________________ )


               OMNIBUS CERTIFICATION OF JULIE L. TERSIGNI
          1.    I am an attorney at law of the State of New Jersey and am an associate

    of the law firm of Drinker Biddle & Reath LLP, attorneys for Defendants Johnson

    & Johnson and Johnson & Johnson Consumer Inc., formerly known as Johnson &

    Johnson Consumer Companies, Inc. I submit this Certification based on personal

    knowledge in support of Defendants’ Johnson & Johnson and Johnson & Johnson

    Consumer, Inc.’s Omnibus Motion to Exclude the Opinions of Plaintiffs’ Experts

    for General Causation Daubert Hearing.

          2.    Attached hereto are true and correct copies of the following exhibits:

             Section A: Scientific Studies, Editorials and Other Articles
     Exhibit No. Description
                  Abelmann et al., Historical Ambient Airborne Asbestos
                  Concentrations in the United States – An Analysis of Published
        A1
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        A17       Cancer: A Meta-Analysis, 119 Envtl. Health Perspectives 1211
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                  M68503-057, and M68503-059
                  Diffraction Verification M69042-001, M69042-002, M69042-
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     Exhibit No. Description
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     Exhibit No. Description
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        A86       Sperm Transport within the Female Genital Tract, in The Fate of
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                  Langseth & Kjaerheim, Ovarian cancer and occupational
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                  Langseth et al., Perineal Use of Talc and Risk of Ovarian Cancer,
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                Peres et al., Analgesic Medication Use and Risk of Epithelial
     A110       Ovarian Cancer in African-American Women, 114 Br J Cancer
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                Peres et al., Racial/ethnic differences in the epidemiology of
     A111       ovarian cancer: a pooled analysis of 12 case-control studies, Int’l
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     A112       Method for the Determination of Asbestos in Bulk Building
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                Phillips et al., Studies on the Absorption and Disposition of 3H-
     A113       Labelled Talc in the Rat, Mouse, Guinea-Pig and Rabbit, 16
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                Qin et al., Dietary Quality and Ovarian Cancer Risk in African-
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     A117       Environmentally and Occupationally Exposed to Blue Asbestos at
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           Section A: Scientific Studies, Editorials and Other Articles
   Exhibit No. Description
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                Rosenblatt et al., Genital Powder Exposure and the Risk of
     A125       Epithelial Ovarian Cancer, 25(2) Cancer Causes Control 737
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                Rothman et al., Interpretation of Epidemiologic Studies on Talc
     A126
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                Saed et al., Dichloroacetate Induces Apoptosis of Epithelial
     A127       Ovarian Cancer Cells Through a Mechanism Involving
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     A128       Pathogenesis of Ovarian Cancer, 145 Gynecol. Oncol. 595
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   Exhibit No. Description
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     A141       Analysis in the Ovarian Cancer Cohort Consortium, 111(2) J.
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                Inflammatory Drug, and Acetaminophen Use and Risk of Invasive
     A142       Epithelial Ovarian Cancer: A Pooled Analysis in the Ovarian
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     A143
                Colorectal and Ovarian Cancer (PLCO) Screening Trial, 135
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     A144
                Toxicological Review of Hexavalent Chromium (1998)
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     A145
                System, 4-Methylphenol; CASN 106-44-5 4 (1993),

                                        12
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           Section A: Scientific Studies, Editorials and Other Articles
   Exhibit No. Description
                https://cfpub.epa.gov/ncea/iris/iris_documents/
                documents/subst/0302_summary.pdf
     A146       U.S. Geological Survey, Some Facts About Asbestos (2001)
     A147       U.S. Geological Survey, Tremolite Images Nos. 2, 18, 20
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     A148       Tracer from the Vagina to the Peritoneal Cavity and Ovaries, SA
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     A149
                Oviducts and Beyond, 24 Food Chem Toxicol. 329 (1986)
                Werebe et al., Systemic Distribution of Talc After Intrapleural
     A150
                Administration in Rats, 115(1) Chest 190 (1999)
                Wergeland et al., Morbidity and Mortality in Talc-Exposed
     A151
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                Wild et al., A Cohort Mortality and Nested Case-Control Study of
     A152       French and Austrian Talc Workers, 59(2) Occup Environ Med.
                98 (2002)
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     A153       Continuous Update Project Expert Report: Judging the Evidence
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     A154
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                Risk of Ovarian Cancer Than Non-Hispanic Whites after
     A155
                Considering Nongenetic Risk Factors and Oophorectomy Rates,
                24(7) Cancer Epidemiology Biomarkers Prev. 1094 (2015)
                Wylie et al., Mineralogical Features Associated with Cytotoxic
                and Proliferative Effects of Fibrous Talc and Asbestos on Rodent
     A156
                Tracheal Epithelial and Pleural Mesothelial Cells, 147 Toxicol.
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                Wynder et al., Weak Associations in Epidemiology and Their
     A157
                Interpretation, 11 Preventive Med. 464 (1982)
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     A158
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                Zervomanolakis et al., Physiology of Upward Transport in the
     A159       Human Female Genital Tract, 1101 Ann. N.Y. Acad. Sci. 1
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                   Section B: MDL Depositions and Exhibits 1
     Exhibit No. Description
         B1      Deposition of Alan Campion, Ph.D., Jan. 9, 2019
         B2      Deposition of Anne McTiernan, M.D., Ph.D., Jan. 28, 2019
         B3      Deposition of April Zambelli-Weiner, Ph.D. Vol. I, Jan. 11, 2019
         B4      Deposition of April Zambelli-Weiner, Ph.D. Vol. II, Feb. 7, 2019
         B5      Deposition of Arch I. Carson, M.D., Ph.D., Jan. 19, 2019
         B6      Deposition of Benjamin Neel, M.D., Ph.D., Mar. 19, 2019
         B7      Deposition of Brooke T. Mossman, M.S., Ph.D., Apr. 8, 2019
         B8      Deposition of Brooke T. Mossman, M.S., Ph.D., Exhibit 24
         B9      Deposition of Christian Merlo, M.D., M.P.H., Apr. 18, 2019
        B10      Deposition of Daniel L. Clarke-Pearson, M.D., Feb. 4, 2019
        B11      Deposition of Ellen Blair Smith, M.D., Jan. 9, 2019
        B12      Deposition of Ghassan Saed, Ph.D. Vol. 1, Jan. 23, 2019
                 Exhibit 1 to Deposition of Ghassan Saed, Ph.D. Vol. 1; and
        B13
                 produced version of SAED000001-97(color) also attached
        B14      Exhibit 8 to Deposition of Ghassan Saed, Ph.D. Vol. 1
                 Exhibit 9 to Deposition of Ghassan Saed, Ph.D. Vol. 1; and
        B15
                 produced version of Abstract Lab Notes also attached
        B16      Exhibit 19 to Deposition of Ghassan Saed, Ph.D. Vol. 1
        B17      Exhibit 20 to Deposition of Ghassan Saed, Ph.D. Vol. 1
        B18      Exhibit 21 to Deposition of Ghassan Saed, Ph.D. Vol. 1
        B19      Deposition of Ghassan Saed, Ph.D. Vol. 2, Feb. 14, 2019
                 Exhibit 23 to Deposition of Ghassan Saed, Ph.D. Vol. 2; and
        B20
                 produced version of Pilot Study Lab Notes also attached
        B21      Exhibit 31 to Deposition of Ghassan Saed, Ph.D. Vol. 2
        B22      Exhibit 33 to Deposition of Ghassan Saed, Ph.D. Vol. 2
        B23      Exhibit 35 to Deposition of Ghassan Saed, Ph.D. Vol. 2
        B24      Exhibit 39 to Deposition of Ghassan Saed, Ph.D. Vol. 2
        B25      Exhibit 44 to Deposition of Ghassan Saed, Ph.D. Vol. 2
        B26      Deposition of Gregory Diette, M.D., Apr. 9, 2019
        B27      Deposition of H. Nadia Moore, Ph.D., Apr. 4, 2019
        B28      Deposition of Ie-Ming Shih, M.D., Ph.D., Mar. 26, 2019
        B29      Deposition of Jack Siemiatycki, Ph.D., Jan. 31, 2019
        B30      Deposition of Judith K. Wolf, M.D., Jan. 7, 2019

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     Relevant excerpts have been highlighted for the Court.
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                 Section B: MDL Depositions and Exhibits 1
   Exhibit No. Description
      B31      Deposition of Judith Zelikoff, Ph.D., Jan. 21, 2019
      B32      Deposition of Karla Ballman, Ph.D., Mar. 22, 2019
      B33      Deposition of Laura Plunkett, Ph.D., D.A.B.T., Dec. 19, 2018
      B34      Deposition of Mark Krekeler, Ph.D., Jan. 25, 2019
      B35      Deposition of Mark W. Rigler, Ph.D., Feb. 6, 2019
      B36      Deposition of Michael Birrer, M.D., Ph.D., Mar. 29, 2019
      B37      Deposition of Michael Crowley, Ph.D., Jan. 4, 2019
      B38      Exhibit 18 to Deposition of Michael Crowley, Ph.D.
               Deposition of Patricia G. Moorman, M.S.P.H., Ph.D., Jan. 25,
      B39
               2019
      B40      Deposition of Rebecca Smith-Bindman, M.D. Vol. I, Feb. 7, 2019
      B41      Exhibit 24 to Deposition of Rebecca Smith-Bindman, M.D. Vol. I
               Deposition of Rebecca Smith-Bindman, M.D. Vol. II, Feb. 8,
      B42
               2019
      B43      Deposition of Robert Cook, Ph.D., Jan. 30, 2019
      B44      Deposition of Robert Kurman, M.D., Apr. 2, 2019
      B45      Deposition of Sarah E. Kane, M.D., Jan. 25, 2019
      B46      Deposition of Shawn Levy, Ph.D., Jan. 11, 2019
      B47      Deposition of Sonal Singh, M.D., M.P.H., Jan. 16, 2019
      B48      Deposition of William E. Longo, Ph.D., Feb. 5, 2019
      B49      Exhibit 12 to Deposition of William E. Longo, Ph.D.


                  Section C: MDL Expert Reports and CVs
   Exhibit No. Description
               Second Supplemental Expert Report of William E. Longo, Ph.D.
      C1
               & Mark W. Rigler, Ph.D., Feb. 1, 2019
      C2       Amended Expert Report of Robert B. Cook, Ph.D., Jan. 22, 2019
      C3       Curriculum Vitae of Dr. Mark W. Rigler, Ph.D.
      C4       Curriculum Vitae of Dr. William E. Longo, Ph.D.
      C5       Expert Report of Alan Campion, Ph.D., Nov. 16, 2018
      C6       Expert Report of Ann G. Wylie, Ph.D., Feb. 25, 2019
      C7       Expert Report of Anne McTiernan, M.D., Ph.D., Nov. 16, 2018
               Expert Report of April Zambelli-Weiner, Ph.D., M.P.H., Nov. 16,
      C8
               2018
      C9       Expert Report of Arch Carson, M.D., Ph.D., Nov. 16, 2018
      C10      Expert Report of Benjamin G. Neel, M.D., Ph.D., Feb. 25, 2019
                                       15
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                  Section C: MDL Expert Reports and CVs
   Exhibit No. Description
               Expert Report of Brooke Taylor Mossman, M.S., Ph.D., Feb. 25,
      C11
               2019
      C12      Expert Report of Cheryl Christine Saenz, M.D., Feb. 25, 2019
      C13      Expert Report of Christian Merlo, M.D., M.P.H., Feb. 25, 2019
      C14      Expert Report of Daniel L. Clarke-Pearson, M.D., Nov. 16, 2018
      C15      Expert Report of David A. Kessler, M.D., Nov. 16, 2018
      C16      Expert Report of Ellen Blair Smith, M.D., Nov. 16, 2018
      C17      Expert Report of Ghassan Saed, Ph.D., Nov. 16, 2018
      C18      Expert Report of Gregory Diette, M.D., M.H.S., Feb. 25, 2019
               Expert Report of H. Nadia Moore, Ph.D., D.A.B.T., E.R.T., Feb.
      C19      25, 2019 [Portions redacted pursuant to Discovery Confidentiality
               Order dated March 1, 2017]
      C20      Expert Report of Ie-Ming Shih, M.D., Ph.D., Feb. 25, 2019
      C21      Expert Report of Jack Siemiatycki, M.Sc., Ph.D., Nov. 16, 2018
      C22      Expert Report of Jeff Boyd, Ph.D., Feb. 25, 2019
      C23      Expert Report of Judith Wolf, M.D., Nov. 16, 2018
      C24      Expert Report of Judith Zelikoff, Ph.D., Nov. 16, 2018
      C25      Expert Report of Karla Ballman, Ph.D., Feb. 25, 2019
               Expert Report of Kelly Scribner Tuttle, Ph.D., C.I.H., Feb. 25,
      C26      2019 [Portions redacted pursuant to Discovery Confidentiality
               Order dated March 1, 2017]
               Expert Report of Kevin Holcomb, M.D., F.A.C.O.G., Feb. 25,
      C27
               2019
               Expert Report of Laura M. Plunkett, Ph.D., D.A.B.T., Nov. 16,
      C28
               2018
      C29      Expert Report of Laura Webb, Ph.D., Feb. 25, 2019
      C30      Expert Report of M. Darby Dyar, Ph.D., Feb. 25, 2019
      C31      Expert Report of Mark Krekeler, Ph.D., Nov. 16, 2018
      C32      Expert Report of Mary Poulton, Ph.D., Feb. 25, 2019
      C33      Expert Report of Michael Birrer, M.D., Ph.D., Feb. 25, 2019
               Expert Report of Michael M. Crowley, Ph.D., Nov. 12, 2018
      C34      [Portions redacted pursuant to Discovery Confidentiality Order
               dated March 1, 2017]
               Expert Report of Patricia G. Moorman, M.S.P.H., Ph.D., Nov. 16,
      C35
               2018
      C36      Expert Report of Rebecca Smith-Bindman, M.D., Nov. 15, 2018
      C37      Expert Report of Robert J. Kurman, M.D., Feb. 25, 2019
                                        16
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                   Section C: MDL Expert Reports and CVs
     Exhibit No. Description
        C38      Expert Report of Sarah E. Kane, M.D., Nov. 15, 2018
        C39      Expert Report of Shawn Levy, Ph.D., Nov. 16, 2018
        C40      Expert Report of Sonal Singh, M.D., M.P.H., Nov. 16, 2018
                 Excerpts of the Expert Report of William E. Longo, Ph.D. &
        C41
                 Mark W. Rigler, Ph.D., Nov. 14, 2018


                        Section D: Produced Documents
     Exhibit No. Description
        D1       JNJ_000245002-148
        D2       JNJ000322351-475
        D3       JNJ000085376-78
        D4       JNJTALC000147667-68
        D5       JNJTALC000294523-24
        D6       JNJTALC000891091-104
        D7       JNJTALC001021615-16


      Section E: Non-MDL Depositions, Transcripts, Expert Reports and Court
                                       Filings2
     Exhibit No. Description
                  Excerpts of the Deposition of Jack Siemiatycki, Ph.D., Oules v.
         E1       Johnson & Johnson, No. 2014 CA 088327 B (D.C. Super. Ct.
                  Dec. 16, 2016)
                  Excerpts of the Deposition of Patricia Moorman, Ph.D., M.S.P.H.,
         E2       Ingham v. Johnson & Johnson, No. 1522-CC10417-01 (Mo. Cir.
                  Ct. Mar. 12, 2018)
                  Excerpts of the Deposition of William E. Longo, Ph.D., Anderson
         E3       v. Borg-Warner Corp., No. BC666513, JCCP No. 5674 (Cal.
                  Super. Ct. Mar. 29, 2018)
                  Excerpts of the Deposition of William E. Longo, Ph.D., Herford
         E4
                  v. AT&T Corp., No. BC646315 (Cal. Super. Ct. Aug. 23, 2017)



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   Relevant testimony in trial transcripts and deposition transcripts is highlighted for
 the Court.
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    Section E: Non-MDL Depositions, Transcripts, Expert Reports and Court
                                       Filings2
   Exhibit No. Description
                Excerpts of the Deposition of William E. Longo, Ph.D., In re
       E5       Kelvin Manbodh Asbestos Litig., No. 324/1997 (V.I. Terr. Ct.
                May 28, 2002)
                Excerpts of the Deposition of William E. Longo, Ph.D., Rimondi
       E6       v. BASF Catalysts LLC, No. MID-L-2912-17 (N.J. Super. Ct.
                Law Div. Jan. 7, 2019)
                Excerpts of the Deposition of William E. Longo, Ph.D.,
       E7       Starkweather v. ACandS, Inc., No. 00-6030 (Mass. Super Ct. July
                18, 2002)
                Excerpts of the Deposition of William E. Longo, Ph.D., Von
       E8       Salzen v. American Int’l Indus. Inc., No. BC6805786 (Cal. Super.
                Ct. June 27, 2018)
                Excerpts of the Deposition of William E. Longo, Ph.D., Weirick
       E9       v. Brenntag N. Am., Inc., No. BC656425 (Cal. Super. Ct. Apr. 17,
                2018)
                Excerpts of the Deposition of William E. Longo, Ph.D., Weirick
       E10      v. Brenntag N. Am., Inc., No. BC656425 (Cal. Super. Ct. Apr. 17,
                2019)
                Excerpts of the Deposition of William E. Longo, Ph.D., Wittman
       E11      v. Brenntag N. Am., Inc., No. BC646439 (Cal. Super. Ct. Nov. 20,
                2017)
                Excerpts of the Deposition of William E. Longo, Ph.D., Young v.
       E12      Johnson & Johnson, No. 1522-CC09728-02 (Mo. Cir. Ct. Jan. 25,
                2019)
                Expert Report of Jack Siemiatycki M.Sc., Ph.D. on Talc Use and
                Ovarian Cancer (Oct. 4, 2016) (submitted in Lloyd v. Johnson &
       E13
                Johnson (Plaintiff Eva Echeverria only), No. BC628228 (JCCP
                No. 4872) (Cal. Super Ct.)
                Excerpts of the Longo & Rigler, Suppl. Expert Report & Analysis
                of Johnson & Johnson Baby Powder and Valeant Shower to
       E14      Shower Talc Products for Amphibole Asbestos, Ingham v.
                Johnson & Johnson, No. 1522-CC10417-01 (Mo. Cir. Ct. Mar.
                11, 2018)
                Order Ex. A, In re Lamar Cty. Asbestos Litig., No. 2000-3559
       E15
                (Tex. Dist. Ct. July 5, 2001)


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    Section E: Non-MDL Depositions, Transcripts, Expert Reports and Court
                                     Filings2
   Exhibit No. Description
                Rulings on Motions in Limine Ex. B, Weirick v. Brenntag N. Am.,
       E16
                Inc., No. BC656425 (Cal. Super. Ct. July 23, 2018)
                Tentative Ruling Permitting Dr. Plunkett’s Opinions in Part,
       E17      Lloyd v. Johnson & Johnson, No. BC628228, JCCP No. 4872
                (Cal. Super. Ct.)
                Excerpts of Transcript of Proceedings, Allen v. Brenntag N. Am.,
       E18
                Inc., No. DR 180132 (Cal. Super. Ct. Oct. 1, 2018)
                Excerpts of Transcript of Proceedings (A.M. Session), Herford v.
       E19      AT&T Corp., No. BC646315, JCCP 4674 (Cal. Super. Ct. Oct.
                25, 2017)
                Excerpts of Trial Transcript, Anderson v. Borg-Warner Corp.,
       E20
                No. BC666513, JCCP No. 5674 (Cal. Super. Ct. May 15, 2018)
                Excerpts of Trial Transcript, Allen v. Brenntag N. Am., Inc., No.
       E21
                DR180132 (Cal. Super. Ct. Oct. 17, 2018)
                Excerpts of Trial Transcript, Allen v. Brenntag N. Am., Inc., No.
       E22
                DR180132 (Cal. Super. Ct. Oct. 19, 2018)
                Excerpts of Trial Transcript, Brick v. Brenntag N. Am., Inc., No.
       E23
                BC674595 (Cal. Super. Ct. May 31, 2018)
                Excerpts of Trial Transcript, Henry v. Brenntag N. Am., Inc., No.
       E24
                MID-1748-17AS (N.J. Super. Ct. Law Div. Oct. 10, 2018)
                Excerpts of Trial Transcript, Leavitt v. Johnson & Johnson, No.
       E25
                RG17882401 (Cal. Super. Ct. Feb. 7, 2019)
                Excerpts of Trial Transcript, Leavitt v. Johnson & Johnson, No.
       E26
                RG17882401 (Cal. Super. Ct. Feb. 14, 2019)
                Excerpts of Trial Transcript, Ingham v. Johnson & Johnson, No.
       E27
                1522-CC10417-01 (Mo. Cir. Ct. June 8, 2018)
                Excerpts of Trial Transcript, Olson v. Brenntag N. Am., No.
       E28
                190328 (N.Y. Sup. Ct. Feb. 26, 2019)
                Excerpts of Trial Transcript, Rimondi v. BASF Catalysts LLC, No.
       E29
                MID-L-2912-17 (N.J. Super. Ct. Law Div. Mar. 5, 2019)
                Excerpts of Trial Transcript, Russell v. Janssen Res. & Dev. LLP,
       E30
                No. 150500362 (Phila. Ct. Comm. Pls. Apr. 12, 2018)
                Excerpts of Trial Transcript, Weirick v. Brenntag N. Am., Inc.,
       E31
                No. BC656425 (Cal. Super. Ct. Aug. 24, 2018)



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      Section F: Plaintiffs’ Experts’ Communications with Health Canada
   Exhibit No. Description
                Email Submission of Anne McTiernan, M.D., Ph.D. to Health
       F1
                Canada, Feb. 5, 2019
                Letter from Jack Siemiatycki, M.Sc., Ph.D. to Health Canada,
       F2
                Feb. 6, 2019
                Email Exchange between Anne McTiernan, M.D., Ph.D. and
       F3
                Scott Hancock, Health Canada, Feb. 21, 2019
                Email Exchange between Ghassan Saed, Ph.D. and Scott
       F4
                Hancock, Health Canada, Feb.-Mar. 2019
                Email Exchange between Jack Siemiatycki, M.Sc., Ph.D. and
       F5
                Scott Hancock, Health Canada, Mar. 2019


          Section G: Documents Relating to Dr. Saed’s Lab Notebooks
   Exhibit No. Description
                Plaintiffs’ Steering Committee’s Responses & Objections to the
      G1        Notice of Dep. of Ghassan M. Saed, Ph.D. & Duces Tecum, Dec.
                20, 2018
                Letter from P. Leigh O’Dell to Hon. Joel A. Pisano, Dec. 27,
      G2
                2018
                Letter from Susan M. Sharko to Hon. Joel A. Pisano, Jan. 25,
      G3
                2019
                Letter from Daniel R. Lapinski to Hon. Joel A. Pisano, Jan. 31,
      G4
                2019
      G5        Letter from Hon. Joel A. Pisano to Counsel, Feb. 5, 2019
                Letter Opinion from Hon. Joel A. Pisano to All Counsel of
      G6
                Record, Apr. 26, 2019


     Section H: Plaintiffs’ Requests for Baby Powder Formula Documents
   Exhibit No. Description
      H1       Letter from Chris Tisi to Susan Sharko, Aug. 30, 2018
               Exhibits 1-3 to Response Email from Richard T. Bernardo to
      H2       Chris Tisi, Oct. 16, 2018 [FILED UNDER SEAL Pursuant to
               Discovery Confidentiality Order dated March 1, 2017]


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                  Section I: Miscellaneous MDL Documents
   Exhibit No. Description
               2-TalcDataResults-janehall.xlsx produced by plaintiffs prior to
       I1
               the deposition of Rebecca Smith-Bindman
               Email Exchange between Susan Sharko and P. Leigh O’Dell,
       I2
               Feb.-Mar. 2019
               Plaintiffs’ Steering Committee’s Initial Designation & Disclosure
       I3
               of Non-Case Specific Expert Witnesses


       3.    I certify that the foregoing statements made by me are true. I am aware

 that if any of the foregoing statements made by me are willfully false, I may be

 subject to punishment.



 Dated: May 7, 2019
                                                   Julie L. Tersigni




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